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                   UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION
  IN RE:                           §
                                   §
  ALLAN L. REAGAN,                 §        CASE NO. 20-11161-tmd
                                   §
        Debtor                     §        CHAPTER 11


             DEBTOR-IN-POSSESSION’S FIRST AMENDED PROPOSED PLAN OF
                                REORGANIZATION

           Allan L. Reagan, the Debtor-in-Possession, (“Debtor”) hereby submits to his Creditors, as

  proponent, his First Amended proposed Plan of Reorganization (“Plan”) pursuant to Chapter 11

  of Title 11, United States Code (hereinafter the “Bankruptcy Code” or “Code”).

                                              ARTICLE I

                                            DEFINITIONS

           Except as otherwise indicated, the terms used in this Plan have the definitions used in the

  Bankruptcy Code and applicable Federal Rules of Bankruptcy Procedure and the Local Rules of

  the United States Bankruptcy Court and the United States District Court for the Western District

  of Texas (the “Local Rules”). In addition, the following terms shall have the following meanings:

           1.01.     Allowed Claims shall mean a claim:

                     (a)   with respect to which a proof of claim has been filed with the Court within

  the applicable period of limitation fixed by the Federal Rules of Bankruptcy Procedure, Rule 3003,

  in a liquidated non-contingent amount as to which no objection has been Filed by Debtor prior to

  the applicable Claims Objection Deadline and that is evidenced by a Proof of Claim or Interest, as

  applicable, timely Filed by the applicable Bar Date; or




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                     (b)    scheduled in the list of Creditors prepared and filed with the Court pursuant

  to Federal Rules of Bankruptcy Procedure, Rule 1007(b) and is not listed as disputed, contingent,

  or unliquidated as to amount in the schedules or this plan, and

                     (c)    in either case as to (a) and (b), as to which no objection to the allowance

  thereof has been filed within any applicable period of limitation fixed by Federal Rules of

  Bankruptcy Procedure, Rule 3007, this Plan or an order of the Court, or as to which any such

  objection has been determined by a final order or judgment which is no longer subject to appeal

  and as to which no appeal is pending. An Allowed Claim shall not include unmatured or post-

  petition interest unless otherwise stated hereafter in the Plan.

           1.02.     Allowed Secured Claim shall mean an Allowed Claim secured by a lien, security

  interest, mortgage or other interest in property in which the Debtor has an interest, or which is

  subject to set-off under § 553 of the Code, to the extent of the value of such property securing the

  Allowed Secured Claim pursuant to § 506(a) of the Code or to the extent the amount is subject to

  said set-off as the case may be. An Allowed Secured Claim may include post-petition interest if

  permitted under § 506 of the Code.

           1.03.     Confirmation Date shall mean the date upon which the Order of Confirmation is

  entered by the Court.

           1.04.     Court or Bankruptcy Court shall mean the United States Bankruptcy Court for

  the Western District of Texas in which the Debtor’s Chapter 11 case is pending or the United States

  District Court for the Western District of Texas together with any court having competent

  jurisdiction to hear appeals from either the Bankruptcy Court or the United States District Court.

           1.05.     Debtor shall mean Allan L. Reagan, the Debtor-in-Possession and proponent of

  this Plan of Reorganization.




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           1.06.     Effective Date shall mean fifteen (15) days from the Confirmation Date.

           1.07.     Order of Confirmation shall mean the order entered by the Court confirming the

  Plan in accordance with the provisions of Chapter 11 of the Code.

           1.08.     Plan shall mean this Chapter 11 Plan of Reorganization, including any

  modification, amendments or supplements thereto.

           1.09.     Term of the Plan shall mean that period after the Effective Date during which

  payments are being made to Creditors.

           1.10.     Payment Due Date shall mean the day of month that quarterly payments to

  Creditors are due under the Plan, which shall be the fifteenth (15th) day of the month following the

  Effective Date and continuing on the same day every three months thereafter.

           1.11. Administrative Expense shall mean those claims entitled to priority under

  § 507(a)(1), § 503(b) and § 330 of the Code, which include attorney’s fees and expenses to the

  attorneys for Debtor, and shall include, without limitation, any actual and necessary expenses of

  preserving the Estate of the Debtor, any actual and necessary expenses of operating the business

  of the Debtor, any fees for Trustee and professionals employed by Trustee, and any indebtedness

  or obligations incurred or assumed by the Debtor in connection with his conduct of the business

  of Debtor, or for the acquisition or lease of property or for the obtaining of services to the Debtor,

  all allowances of compensation or reimbursement of expenses to the extent allowed by the Court

  under the Code and any fees or charges assessed against the Estate of the Debtor under Chapter

  123, Title 28, United States Code.

           1.12. The Code or the Bankruptcy Code shall mean the United States Bankruptcy Code

  as contained in 11 U.S.C. § 101, et seq., and all amendments thereto.




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           1.13.      Bankruptcy Rules shall mean the Federal Rules of Bankruptcy Procedure, as

  amended and any reference to a Bankruptcy Rule shall refer to the rules of procedure set forth

  therein.

           1.14.      Chapter 11 Case shall mean the above referenced and captioned Chapter 11

  proceeding.

           1.15.      Creditor shall mean any party or entity having a claim against the Debtor,

  including but not limited to the following: Priority Creditors, Secured Creditors, Trade Creditors

  and Unsecured Creditors, as herein defined.

           1.16.      Estate shall mean the estate created by § 541 of the Bankruptcy Code.

           1.17.      Pro Rata shall mean the proportion that any Allowed Claim in any class bears to

  the aggregate amount of all Allowed Claims in such class.

           1.18.      Unimpaired Claim shall mean any claim or any class of claims that are not

  Impaired under the Plan. The term Impaired as used in this definition refers to and is governed

  by the language of § 1124 of the Code.

           1.19.      Unsecured Claim shall mean any Allowed Claim against the Debtor (such claim

  being a claim against the Debtor’s Excluded; separate; and/or separately managed property) for

  which the holder has no security for the repayment thereof or the portion of an Allowed Secured

  Claim for which the security held by the holder of that claim is insufficient to fully satisfy the

  claim. This category includes all claims deemed unsecured pursuant to § 506(a) of the Code.

                                                ARTICLE II

                     DESCRIPTION AND HISTORY OF THE DEBTOR’S BUSINESS
                                     DEBTOR’S ESTATE

           2.01.      Debtor’s business has, for many years, involved making investments in real estate,

  startup ventures and marketable securities, as well as managing certain operating businesses.



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  Additionally, Debtor is the founder, CEO and a principal owner of the “Flix Brewhouse” branded

  dine-in movie theater chain (“Flix”), which, as of the Petition Date, consisted of ten theaters that

  had opened and operated for some period of time during 2020 and one under construction. Flix

  began operations in June 2011, and, prior to the onset of the COVID-19 pandemic, was a successful

  movie theater operation that was concluding an expansion phase. Initially, in mid-March 2020,

  all of the Flix theaters (and most movie theaters in the USA) were temporarily closed under a

  variety of government orders generally intended to “flatten the curve.” Concurrently, the major

  movie studios postponed scheduled feature films or distributed the films through pay-per-view or

  streaming subscription channels. Both the Debtor and the movie theater industry in general then

  believed that the effects of the pandemic would ease by Summer, and the feature “Tenet” was

  rescheduled to release July 7. However, especially after Memorial Day social gatherings, COVID-

  19 infection, hospitalization and death rates once again spiked, and the major movie studios

  continued to delay movie releases. “Tenet” was rescheduled for early September, and the industry

  adopted a series of protocols called CinemaSafe, designed to welcome back movie-goers. In each

  reopened auditorium, Flix installed a costly air purification and pathogen-neutralizing system

  called cold plasma bi-polar ionization. Despite all these efforts, the restart of the movie theater

  industry was not successful. “Tenet” woefully underperformed expectations and the studios

  continued to remove films from exclusive theatrical release. In early October, Regal closed all 536

  of its USA theaters. With the exception of two theaters unable to reopen due to government

  restrictions, Flix attempted to operate at cash break-even prior to rent expense and debt service,

  but was unable to do so, depleting its liquid reserves as a result. The combination of the pandemic

  and the lack of any new releases resulted in an almost negligible revenue stream, and between mid-

  October and early November 2020 Flix closed all eight reopened theaters for an indefinite period.




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  As of the date of this Amended Plan approximately 53% of the movie theaters in North America

  are likewise indefinitely closed. Flix, which once employed over 1,200, now has five full-time

  equivalent employees. Other cinema eatery chains, including CMX, Studio Movie Grill and most

  recently Alamo Drafthouse, have filed for Chapter 11 protection.

            2.02.    As discussed above, in addition to Flix, Debtor has historically made investments

  in real estate, start-up companies, and marketable securities. One of the real estate investments,

  made through 3401 Hoteliers LP (“Hoteliers”), was a Wyndham Garden Hotel in Austin, Texas.

  Similar to Flix, with the onset of the pandemic, the revenues from that hotel disappeared. Hoteliers

  obtained a so-called “PPP” loan but once those funds were exhausted, and Hoteliers was

  unsuccessful after months of effort to obtain a debt forbearance, the hotel was closed on October

  18, 2020. The secured lender for that property, Wells Fargo (as agent), obtained appointment of

  a receiver for the property on December 14, 2020 and, along with Hoteliers, has been attempting

  to market the property. A tentative buyer has been identified, but no contract signed as of the date

  of this Amended Plan. Were the tentative transaction to close it is unlikely that Hoteliers would

  receive any proceeds distributable to its owners.

            2.03.    The Debtor is also the principal of Aramcor Inc., which provides management

  services for the Debtor’s real estate holdings and related entities. Aramcor has, in the past, paid

  the Debtor a monthly gross salary of $96,000, which included services provided to Flix. During

  2020, Debtor briefly went on the Flix payroll when it was resuming operations, but after the most

  recent closure Debtor’s salary from Flix has been eliminated, pending the return of Flix’s ability

  to pay.




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           2.04.     Debtor’s other principal business interests include partial ownership and control of

  the following (list is not complete of all business interests; readers are encouraged to review the

  Schedules filed in this case and the Liquidation Analysis attached as Exhibit B):

           ̶ Southwestern Retail Properties, L.P., which owns the shop space within the Sky Ridge

  Plaza shopping center in Round Rock, Texas.

           ̶ Southwestern Retail Properties II, LP, which owns the anchor space in Sky Ridge Plaza,

  of which approximately 70% is leased to the Round Rock, Texas Flix Brewhouse.

           ̶ Southwestern Retail Properties, III, LP which owns the single-tenant land and building

  on which the brand new (opened February 2020) Flix Brewhouse in San Antonio, Texas is located.

           ̶ Round Rock Business Park, LP, which owns the Park West Corporate Center in Round

  Rock, Texas.

           ̶ Prairie Pointe Estates, Inc., which owns a tract of land being developed as a residential

  subdivision in Burnet County, Texas.

           ̶ 100 Trinity LLC, which is a private investment entity that has made a variety of both

  specialty loans and conventional investments since 2008.

           ̶ as reflected on the Debtor’s schedules, Debtor has small minority investments in certain

  other entities, including Newser, Inc. and First Stop Health.

           2.05.     The Debtor has executed guaranty agreements, for certain lease obligations and

  loans, as set forth more fully in the Debtor’s schedules. The combined pressures of the loss of

  revenue to Flix, diminished receipts for the shopping center entities, loss of income from the hotel

  property, declared defaults under various loans and leases and creditor pressures regarding the

  ripening contingent guaranty liabilities resulted in the need for the Debtor to file this case.




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                                             BANKRUPTCY

           2.06.     On October 22, 2020 (the “Petition Date”), Debtor filed a voluntary petition for

  relief under Subchapter V of Chapter 11 of the Bankruptcy Code, which commenced the Chapter

  11 Case titled In Re: Allan L. Reagan and currently pending before this Court and assigned case

  number 20-11161 case (the “Chapter 11 Case”), the lead case for this adversary proceeding.

  Debtor continues to manage and operate his business as a debtor-in-possession pursuant to

  Bankruptcy Code § § 1107 and 1108. On October 27, 2020, Michael Colvard was appointed

  Subchapter V trustee.

                                           DEBTOR’S PLAN

           2.07.     The Debtor’s plan payment analysis is attached as Exhibit “A.” Essentially, the

  plan provides for payment of the Debtor’s disposable income over a 5-year period. The plan

  payments total $3,110,935, which escalate from year 1 through 5 given reasonably foreseeable

  expected improvement in economic conditions.             The Debtor will liquidate approximately

  $225,000 of marketable securities within ten days of the Effective Date, which is included in the

  Plan payments for Year 1 and is not a separate distribution; this is community property and,

  therefore, 50% will be the property of Jan Reagan, Debtor’s non-filing spouse and 50% will be

  paid to holders of Allowed Claims. Although not anticipated, in the event that Hoteliers makes

  any further distributions to Debtor, his 50% share will be contributed as additional Plan payments

  for the quarter(s) in which received. Because his income is not based a regularly monthly cash

  flow, the Debtor proposes making the pro-rata payments on a quarterly basis. The percentage

  distribution to creditors is not certain, given that (1) the proof of claim deadline has not passed and

  (2) certain of the claims are likely to be the subject of an objection and allowance or estimation




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  process. 1 Attached as Exhibit “C” is the current listing of claims filed and scheduled; Debtor

  believes several of the claims are subject to objection. In particular, certain of the underlying

  claims on which a guaranty exists are being paid, and others include amounts which are not

  recoverable under the guaranty and/or the underlying obligation.

                                                   ARTICLE III

       MEANS OF IMPLEMENTATION AND ABILITY TO MAKE PLAN PAYMENTS

           3.01.     The means necessary for the execution of the Debtor’s Plan includes the

  continuation of the Debtor’s business with the exception of the Wyndham Garden Hotel.

           3.02.     Continuation of the Debtor’s Business. The Debtor, as reorganized, will retain all

  property of the Estate except for the marketable securities to be liquidated on the Effective Date.

  The retained property, excepting the Wyndham Garden, shall be used and employed by the Debtor

  in the continuance of his business. The Debtor shall fund the Plan payments to Creditors from cash

  flow that he receives from his future business operations and earnings from existing assets as stated

  in the Plan. Payments are based on the projected disposable income as set forth in Exhibit “A, ”

  which includes all community income. Janet, Reagan, the Debtor’s non-filing spouse, has

  persisting medical issues relating to a diagnosis of cervical spondylosis and stenosis with

  myelopathy. These issues prevent her from performing normal chores and functional activities.

  As a result, the projected monthly household expenses include reasonable sums for her medical,

  domestic and household assistance.

           3.03.     Advance Payment of Claims. Debtor may make advance payments on claims in

  Debtor’s business judgment and discretion but must stay current on payments to all other creditors

  pursuant to the Plan.


  1
    Certain creditors have claims directly against entities that have debt obligations to those creditors which were the
  subject of the Debtor’s guaranty agreements, and may have recoveries directly from those entities.


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           3.04.     Consensual post-confirmation modification of plan terms. Notwithstanding any

  provision set forth in this Plan, the Debtor and any particular Creditor provided for in this Plan

  may enter into any agreement(s) after confirmation which modifies that Creditor’s treatment and

  payment terms, so long as such agreement is reduced to writing and signed by the Debtor’s and

  consenting Creditor’s authorized representatives and does not provide for treatment which

  provides a pro rata recovery under this Plan better than the creditors in the same class. In such

  event, any modified agreement shall be deemed to supersede the terms of this Plan.

           3.05.     If and to the extent necessary to fund Plan payments in the event of a deficit in cash

  flow and investment earnings, the Debtor will liquidate investments.

           3.06.     Payments by Trustee in the event of confirmation pursuant to 11 U.S.C. §1191(b).

  In the event of confirmation under Section 1191(b), Trustee will act as disbursing agent and Debtor

  shall remit the plan payments reflected on Exhibit A to the Trustee on a quarterly basis for

  distribution to creditors. Trustee will receive compensation of $750.00 per quarter (or such other

  amount as agreed to by the Debtor and Trustee or as billed and allowed by the Court subject to the

  standards imposed by the Bankruptcy Code) for acting as disbursing agent, to be deducted from

  Plan payments prior to disbursement.

           3.07.     As noted above, to the extent of recoveries realized on account of the Hoteliers

  interest, Debtor’s 50% share of such proceeds will be contributed to the Plan. Additionally, in the

  event the governing board of an entity in which Debtor has an ownership interest declares an

  investor distribution (other than a so-called tax distribution) at a time when such entity is in

  undisputed default beyond applicable cure periods of an obligation that is also the subject matter

  of an unsatisfied Allowed Claim in this case, Debtor shall make good faith efforts to refuse such




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  distribution until the related default is cured, and if unable to do so, shall contribute this amount to

  Plan payments.

                                              ARTICLE IV

                                      LIQUIDATION ANALYSIS

           4.01.     To confirm the Plan, the Court must find that all creditors and equity interest

  holders who do not accept the Plan will receive at least as much under the Plan as such claim and

  equity interest holders would receive in a Chapter 7 liquidation. A liquidation analysis is attached

  to the Plan as Exhibit B. As set forth, the Plan payments at present value clearly exceed the

  expected proceeds from liquidation of assets.

                                              ARTICLE V

                                       UNCLASSIFIED CLAIMS

           5.01.     Administrative Expenses. The administrative expenses of the Debtor’s Chapter

  11 case allowed pursuant to § 503(b) of the Code and given priority pursuant to § 507(a)(1) of the

  code shall be paid the full amount of their Allowed Claim(s) on the Effective Date or upon entry

  of an order allowing the administrative expense or as agreed to between the Debtor and holder of

  such claim. The deadline for filing a claim for an administrative expense including all professional

  fee applications shall be 30 days from the date of entry of the confirmation order. The estimated

  Administrative Claims are those which will be owed to Debtor’s counsel and to Debtor’s financial

  advisor, HMP Advisory Holdings, LLC dba Harney Partners, and any owed to the Subchapter V

  Trustee.

           5.02.     Priority Tax Claims. Debtor is not aware of any threatened or asserted Priority

  Tax Claims. To the extent they exist, pre-petition claims held by governmental units of the type

  described in §507(a)(8) of the Bankruptcy Code will be paid in full, with interest at an annual rate




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  of 12% in equal monthly installments over a period beginning 30 days after the Effective Date of

  the Plan and ending five years after the date of the filing of the petition. Notwithstanding the

  foregoing treatment, any holder of a §507(a)(8) claim may file a written election to be treated on

  the same basis as any nonpriority unsecured claim. Any such election must be filed in writing not

  later than 14 days after entry of the order confirming the plan.

                                               ARTICLE VI

                                    CLASSIFICATION OF CLAIMS

           6.01.     Class 1: The Allowed Secured Claims of Ford Motor Credit and Wells Fargo Auto

  Finance.

           6.02      Class 2: The Allowed Secured Claim of Interactive Brokers, LLC

           6.02.     Class 3: All Allowed Unsecured Claims of creditors with claims against the

  Debtor.

           6.03.     Class 4: Allowed Claims of Insiders or Affiliates.



                                              ARTICLE VII

                                       TREATMENT OF CLAIMS

           7.01.     Class 1: Unimpaired. The Allowed Secured Claims of Ford Motor Credit and

  Wells Fargo Auto Finance will be paid in full according to the terms of the financing agreement,

  and the creditor shall retain its lien.

           7.02.     Class 2. Unimpaired. The Allowed Secured Claim of Interactive Brokers, LLC

  will be paid in full according to its terms and the creditor shall retain its lien.

           7.03.     Class 3: Impaired. All Allowed Unsecured Claims shall receive their pro rata share

  of Plan Payments.




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           7.04.     Class 4: Impaired. No Insiders or Affiliates shall receive Plan Payments.

                                              ARTICLE VIII

                      EXECUTORY CONTRACTS AND UNEXPIRED LEASES

           8.01.     All executory contracts or unexpired leases, not otherwise assumed or rejected by

  the Debtor prior to confirmation of the Plan, are rejected by the Debtor under the Plan as of the

  Effective Date, except as otherwise provided under Treatment of Claims in the Plan. Debtor will

  file a list of contracts to be assumed prior to the confirmation hearing.

           8.02.     A proof of a claim arising from the rejection of an executory contract or unexpired

  lease must be filed no later than thirty (30) days after the date of the order confirming this Plan.

                                               ARTICLE IX

                      PROCEDURE FOR RESOLVING CONTESTED CLAIMS

           9.01.     Filing Objections. Debtor shall be responsible for preparing, filing and prosecuting

  objections to claims or motion(s) to estimate claims for allowance. Objections to claims may be

  filed with the Bankruptcy Court and served upon each holder of the claims to which objections are

  filed not later than ninety (90) days after the Confirmation Date, unless such time period is

  extended by order of the Court. No distribution will be made on account of a disputed claim unless

  such claim is allowed.

           9.02.     Prosecution of Objections. The Debtor will have the power and authority to settle

  and compromise a disputed claim with court approval and compliance with Rule 9019 of the

  Federal Rules of Bankruptcy Procedure.

           9.03      Payments by Third Parties.         Any Claim will be deemed reduced and/or

  disallowed, as applicable, without a claim objection having to be filed by the Debtor and without

  any further notice, action or order of the Bankruptcy Court, to the extent that the holder of such




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  Claim (a) receives payment in full or part (as applicable) on account of such Claim from a person

  or entity which is not the Debtor (b) receives a written notice of such proposed reduction or

  disallowance from the Debtor in accordance with the provisions of this paragraph, and does not

  object in writing to the proposed reduction or disallowance set forth in such notice within twenty

  (21) days from service of such notice. To the extent a Holder of a Claim receives, on account of

  such Claim, both a distribution under the Plan and a payment from a person or entity that is not

  the Debtor on account of such Claim, the Debtor may serve a notice of such duplicative payment

  and such Holder must, within 21 days of receipt thereof, either (a) repay or return the distribution

  received under the Plan to Debtor, but only to the extent that the Holder of such Claim received

  payment on account of such Claim in an amount greater than the total amount that the holder of

  such Claim was owed on account of such Claim (for purposes of this provision, the total amount

  owed on account of such Claim shall be without regard to any limitations in the Bankruptcy Code

  and/or statutory cap, such as, for example, the cap provided for under section 502(b)(6) of the

  Bankruptcy Code), or (b) file and serve on the Debtor an objection setting forth the basis upon

  which the Holder of such Claim should not be required to return the amounts set forth in the notice

  received by such Holder. This Section 9.03 shall not limit, reduce, alter or otherwise modify in

  any way any obligations of any non-Debtor obligor or guarantor with respect to any payment

  assurances arising under or relating to executory contracts and unexpired leases, whether or not

  rejected by Debtor in accordance with Section 8.01 of this Plan.




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                                                ARTICLE X

                                    MISCELLANEOUS PROVISIONS

           10.01. Vesting of Assets: On the Effective Date, title to all assets and properties dealt with

  by the Plan shall vest in Reorganized Debtor, free and clear of all Claims and Interests other than

  any contractual secured claims granted under any lending agreement, on the condition that

  Reorganized Debtor complies with the terms of the Plan, including the making of all payments to

  creditors provided for in such Plan. If Reorganized Debtor defaults in performing under the

  provisions of this Plan and this case is converted to a case under chapter 7, all property vested in

  Reorganized Debtor and all subsequently acquired property owned as of or after the conversion

  date shall re-vest and constitute property of the bankruptcy estate in the converted case.

           10.02. Retention of Jurisdiction: Under Sections 105(a) and 1142 of the Bankruptcy

  Code, and notwithstanding entry of the Confirmation Order and the occurrence of the Effective

  Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, and

  related to, the Chapter 11 Case and this Plan to the fullest extent permitted by law, including,

  among other things, jurisdiction to:

           (a)       allow, disallow, determine, subordinate, litigate, liquidate, classify, estimate or
                     establish the priority or secured or unsecured status of any Claim or Equity Interest
                     (whether filed before or after the Effective Date and whether or not contingent,
                     Disputed or unliquidated or for contribution, indemnification or reimbursement),
                     including the compromise, settlement and resolution of any request for payment of
                     any Administrative Expense Claim or Priority Claim, the resolution of any
                     Objections to the allowance or priority of Claims or Equity Interests and to hear
                     and determine any other issue presented hereby or arising hereunder, including
                     during the pendency of any appeal relating to any Objection to such Claim or Equity
                     Interest to the extent permitted under applicable law;

           (b)       grant or deny any applications for allowance of compensation or reimbursement of
                     expenses authorized pursuant to the Bankruptcy Code or this Plan;

           (c)       hear and determine any and all adversary proceedings (including the Declaratory
                     Action), motions, applications, and contested or litigated matters, including, but not



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                     limited to, all causes of action, and consider and act upon the compromise and
                     settlement of any Claim, or cause of action;

           (d)       determine and resolve any matters related to the assumption, assumption and
                     assignment or rejection of any executory contract or unexpired lease to which the
                     Debtor is or was a party, or with respect to which the Debtor may be liable, and to
                     hear, determine and, if necessary, liquidate any Claims arising therefrom;

           (e)       ensure that all distributions to holders of Allowed Claims under this Plan and the
                     performance of the provisions of this Plan are accomplished as provided herein and
                     resolve any issues relating to distributions to holders of Allowed Claims pursuant
                     to the provisions of this Plan;

           (f)       construe, take any action and issue such orders, prior to and following the
                     Confirmation Date and consistent with Section 1142 of the Bankruptcy Code, as
                     may be necessary for the enforcement, implementation, execution and
                     consummation of this Plan and all contracts, instruments, releases, other
                     agreements or documents created in connection with this Plan, including, without
                     limitation, the Confirmation Order, for the maintenance of the integrity of this Plan
                     in accordance with Sections 524 and 1141 of the Bankruptcy Code following the
                     occurrence of the Effective Date;

           (g)       determine and resolve any cases, controversies, suits or disputes that may arise in
                     connection with the consummation, interpretation, implementation or enforcement
                     of this Plan (and all exhibits and schedules to this Plan) or the Confirmation Order,
                     including the indemnification and injunction provisions set forth in and
                     contemplated by this Plan or the Confirmation Order, or any entity’s rights arising
                     under or obligations incurred in connection therewith;

           (h)       modify this Plan before or after the Effective Date pursuant to Section 1127 of the
                     Bankruptcy Code or modify the Confirmation Order or any contract, instrument,
                     release, or other agreement or document created in connection with the Plan or the
                     Confirmation Order, or remedy any defect or omission or reconcile any
                     inconsistency in any Bankruptcy Court order, this Plan, the Confirmation Order or
                     any contract, instrument, release, or other agreement or document created in
                     connection with this Plan or the Confirmation Order, in such manner as may be
                     necessary or appropriate to consummate this Plan, to the extent authorized by the
                     Bankruptcy Code and this Plan;

           (i)       issue injunctions, enter and implement other orders or take such other actions as
                     may be necessary or appropriate to restrain interference by any entity with
                     consummation, implementation or enforcement of this Plan or the Confirmation
                     Order;

           (j)       enter and implement such orders as are necessary or appropriate if the Confirmation
                     Order is for any reason modified, stayed, reversed, revoked or vacated;




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           (k)       determine any other matters that may arise in connection with or relating to this
                     Plan and the Confirmation Order or any contract, instrument, release, or other
                     agreement or document created in connection with this Plan or the Confirmation
                     Order;

           (l)       determine such other matters and for such other purposes as may be provided in the
                     Confirmation Order;

           (m)       hear and determine matters concerning state, local and federal taxes in accordance
                     with Sections 346, 505 and 1146 of the Bankruptcy Code;

           (n)       enforce all orders, judgments, injunctions, releases, exculpations, indemnifications
                     and rulings entered in connection with the Chapter 11 Case;

           (o)       determine and resolve controversies related to the Estate or the Debtor from and
                     after the Effective Date;

           (p)       hear and determine any other matter relating to this Plan; and

           (q)       enter a final decree closing this Chapter 11 Case.

           10.03. Adversary Proceedings and Retained Claims: The Debtor reserves the right to

  begin or continue any adversary proceedings permitted under Title 11, United States Code and the

  applicable Federal Rules of Bankruptcy Procedure. Debtor reserves all claims against any party,

  including but not limited to preference actions under Section 547 of the Bankruptcy Code,

  fraudulent conveyance claims under Section 548 of the Bankruptcy Code and applicable state law

  (including Uniform Fraudulent Conveyance Act claims), setoff and recoupment rights, and federal

  and state law causes of action

           10.04. Valuation of Secured Claims: All Secured Claims shall be allowed in an amount

  as agreed to by the Debtor and the Creditor holding the Secured Claim, as provided by this Plan,

  or as ordered by the Court pursuant to § 506. The Court shall not be required to determine the

  amount of a Secured Claim unless a motion to require such determination is filed at least ten (10)

  days prior to the first hearing on confirmation by the Debtor or other party in interest. In the event

  that such a Motion is not filed, the value of the property as set forth in this Plan shall be deemed




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  as the court’s finding as to valuation, and, if no value is set forth in this Plan for property against

  which a Creditor claims a lien, or if such Creditor’s claim is treated as unsecured in this Plan, then

  such Creditor’s claim shall be deemed an Unsecured Claim.

           10.05. Modification of Plan: This Plan may be modified or corrected upon motion of the

  Debtor pursuant to § 1193 (a) prior to Confirmation. Modifications or corrections may be made

  without additional disclosure provided that the Court finds that the modifications or corrections do

  not adversely affect any Claim or Interest or classes of Claims or Interests. After the Confirmation

  Date, the Debtor, upon order of the Court and in accordance with § 1193(b) may remedy any defect

  or omission or reconcile any inconsistencies in the Plan in such a manner as may be necessary to

  carry out the purposes and intent of the Plan.

                                             ARTICLE XI

                     DISCHARGE AND OTHER EFFECTS OF CONFIRMATION

           11.01. Discharge. If the Debtor’s Plan is confirmed under § 1191(a), on the Effective

  Date of the Plan, the Debtor will be discharged from any debt that arose before confirmation of

  this Plan, to the extent specified in § 1141(d)(1)(A) of the Code, except that the Debtor will not

  be discharged of any debt: (i) imposed by this Plan; or (ii) to the extent provided in § 1141(d)(6).

  If the Debtor’s Plan is confirmed under § 1191(b), confirmation of this Plan does not discharge

  any debt provided for in this Plan until the court grants a discharge on completion of all payments

  due within the first five years of this Plan, or as otherwise provided in § 1192 of the Code. The

  Debtor will not be discharged from any debt: (i) on which the last payment is due after the first

  five years of the Plan, or as otherwise provided in § 1192; or (ii) excepted from discharge under

  § 523(a) of the Code, except as provided in Rule 4007(c) of the Federal Rules of Bankruptcy

  Procedure.




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           11.02. Tax Liens. Tax liens, if any, survive the plan confirmation, a bankruptcy

  discharge, and dismissal of the case. The liens continue to be enforceable against the Reorganized

  Debtor’s property to the extent, priority, and validity such liens were entitled to as of the Petition

  Date and under federal law.

           11.03. Plan Creates New Obligations. The obligations to creditors that the Debtor

  undertakes in the Confirmed Plan replace those obligations to creditors that existed prior to the

  Effective Date of the Plan. The Debtor’s obligations under the Confirmed Plan constitute a binding

  contractual promise that, if not satisfied through performance of the Plan, create a basis for an

  action for breach of contract under Texas law. To the extent a creditor retains a lien under the Plan,

  that creditor retains all rights provided by such lien under applicable non-Bankruptcy law.

           11.04. Legally Binding Effect. The provisions of this Plan shall bind all Creditors and

  Interest Holders, whether or not they accept this Plan. On and after the Effective Date, all holders

  of Claims shall be precluded and forever enjoined from asserting any (i) Claim against the Debtor

  based on any transaction or other activity of any kind that occurred prior to the Confirmation Date,

  except as permitted under the Plan.

           11.05. Injunction. The entry of the Confirmation Order will operate as a general

  resolution with prejudice, as of the Effective Date, of all pending Legal Proceedings, if any, against

  the Debtor and his assets and properties and any proceedings not yet instituted against the Debtor

  or his assets, except as otherwise provided in the Plan. Except as otherwise expressly provided in

  the Plan or the Confirmation Order, all Persons who have held, may have held, hold, or may hold

  Claims against the Debtor are permanently enjoined on and after the Effective Date from (a)

  commencing or continuing in any manner any action or other proceeding of any kind against the

  Debtor or his property, with respect to any such Claim, (b) the enforcement, attachment, collection




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  or recovery by any manner or means of any judgment, award, decree or order with respect to any

  such Claim against the Debtor or his property, (c) creating, perfecting, or enforcing any

  encumbrance of any kind against the Debtor or his property, with respect to such Claim, (d)

  asserting any right of subrogation of any kind against any obligation due to the Debtor or the

  property of the Debtor or the Estate with respect to any such Claim and (e) asserting any right of

  setoff or recoupment against the Debtor or the Estate except as specifically permitted by §553 of

  the Bankruptcy Code. Unless otherwise provided in the Plan or by order of the Bankruptcy Court,

  all injunctions or automatic stays provided for in these cases pursuant to §105, if any, or §362 of

  the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date will remain in full

  force and effect until the Effective Date.

                                               ARTICLE XII

                                                DEFAULT

           12.01. In the event of a non-monetary or monetary default by the Debtor under the Plan,

  the affected Creditor shall provide written notice of such default to:

                         Allan L. Reagan
                         2000 S. Interstate Hwy 35, Ste Q11
                         Round Rock, Texas 78681-6942

                         AND

                         Mark C. Taylor
                         Waller Lansden Dortch & Davis, LLP
                         100 Congress Ave., Ste. 1800
                         Austin, Texas 78701

  by United States certified mail-return receipt requested, and by United States first class mail,

  postage prepaid, and by e-mail to Mark C. Taylor, mark.taylor@wallerlaw.com, AND Allan

  Reagan, alr78681@gmail.com




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           The Debtor shall have thirty (30) days from the earlier to occur of: (i) the date of receipt of

  the written notice sent by certified mail, or (ii) the date of receipt of the written notice sent by first

  class mail to cure the default (For the purposes of the written notice by United States first class

  mail, postage prepaid, such notice will be deemed received five (5) days after depositing the same

  in the United States mail). In the event the Debtor does not cure the default within the thirty (30)

  day period provided herein, the affected Creditor or Interest Holder shall be entitled to pursue its

  state and/or federal law remedies – as limited by the Plan – without further notice or hearing before

  the Court.

           12.02. The Debtor must remain current with respect to all post-petition federal tax liability,

  including but not limited to making timely federal tax deposits, the timely filing of tax returns and

  the payment of all tax liabilities as required by applicable law during the term of the Plan. Failure

  to remain current with respect to one or more post-petition federal tax liabilities shall constitute an

  event of default under of the plan; however, the Bankruptcy Court shall have no jurisdiction over

  any tax issues arising after the date of confirmation. There will be no automatic stay or post-

  confirmation injunction with regard to federal tax liabilities accrued after the petition date, and the

  IRS shall be free to collect any such liabilities in accordance with the provisions of Title 26 of the

  United States Code and other applicable law.

           12.03. Upon any final and non-curable default of the Plan by Debtor, a Creditor may

  accelerate its allowed prepetition and post-petition claims, and any future administrative claims,

  and declare the outstanding amounts of such claims to be immediately due and owing and pursue

  any and all available state and federal rights and remedies as provided by law without further order

  of this Court.




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           12.04. In the event the Plan is confirmed pursuant to 11 U.S.C. § 1191(b), the following

  default provisions shall apply: Pursuant to 11 U.S.C. § 1191(c)(3), in the event that payments are

  not made by the Debtor as required by the Plan and Confirmation Order, creditors and parties-in-

  interest shall have the right to seek dismissal or conversion of the Bankruptcy Case. Creditors

  holding liens against particular assets of the Debtor shall also have the right to file a motion for

  relief from the automatic stay. The Bankruptcy Court shall retain jurisdiction to determine all

  matters related to enforcement of the Plan and Confirmation Order.

                                                Respectfully submitted,

                                                WALLER LANSDEN DORTCH & DAVIS, LLP

                                                By: /s/ Mark C. Taylor
                                                   Mark C. Taylor
                                                   State Bar No. 19713225
                                                   William R. “Trip” Nix
                                                   State Bar No. 24092902
                                                   100 Congress Avenue, Suite 1800
                                                   Austin, Texas 78701
                                                   (512) 685-6400
                                                   (512) 685-6417 (FAX)
                                                   mark.taylor@wallerlaw.com
                                                   trip.nix@wallerlaw.com

                                                ATTORNEY FOR DEBTOR




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                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was served upon
  the parties listed below electronically via the Court’s ECF system and on all persons on the
  attached service list on March 9, 2021.

  Debtor                                            Trustee (via ECF)
  Allan L. Reagan                                   Michael Colvard
  2000 S. IH−35, Suite Q11                          Weston Center
  Round Rock, TX 78681−6942                         112 East Pecan Street, Suite 1616
                                                    San Antonio, TX 78205

                                                    U.S. Trustee (via ECF)
                                                    United States Trustee
                                                    903 San Jacinto, Room 322
                                                    Austin, TX 78701



                                             /s/ Mark C. Taylor
                                             Mark C. Taylor




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                             EXHIBIT A
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   FINANCIAL PROJECTIONS



      A. Introduction
  The Debtor has prepared the financial projections herein (the “Financial Projections”), reflecting the
  Debtor’s estimate of the future disposable income over the next five years, from April 1, 2021 through
  March 31, 2026 (the “Projection Period”). For the purposes of the Financial Projections, the Effective Date
  is assumed to be March 31, 2021 (the “Assumed Effective Date”). These Financial Projections were
  prepared and are current through January 20, 2021 (the “Plan Date”). The calculations have been revised
  to correct a formula error in the Excel spreadheet.
  The Debtor believes that the Plan meets the feasibility requirement set forth in section 1129(a)(11) of the
  Bankruptcy Code, as confirmation is not likely to be followed by liquidation or the need for further financial
  reorganization of the Debtor or any successors under the Plan.
  The Financial Projections reflect the Debtor’s judgment of expected employment and future operating and
  business conditions, which are subject to change, of the operating businesses in which the Debtor has an
  economic interest. Although the Debtor has prepared the Financial Projections in good faith and believes
  the assumptions to be reasonable, it is important to note that the Debtor can provide no assurance that such
  assumptions will be realized. The Financial Projections have not been audited or reviewed by independent
  accountants.
  THE FINANCIAL PROJECTIONS WERE NOT PREPARED WITH A VIEW TOWARD
  COMPLIANCE WITH THE GUIDELINES ESTABLISHED BY THE AMERICAN INSTITUTE OF
  CERTIFIED PUBLIC ACCOUNTANTS, THE FINANCIAL ACCOUNTING STANDARDS BOARD,
  OR THE RULES AND REGULATIONS OF THE SECURITIES AND EXCHANGE COMMISSION.
  FURTHERMORE, THE FINANCIAL PROJECTIONS HAVE NOT BEEN AUDITED, REVIEWED, OR
  SUBJECTED TO ANY PROCEDURES DESIGNED TO PROVIDE ANY LEVEL OF ASSURANCE BY
  THE DEBTORS’ INDEPENDENT PUBLIC ACCOUNTANTS.
  MOREOVER, THE FINANCIAL PROJECTIONS CONTAIN CERTAIN STATEMENTS THAT ARE
  “FORWARD-LOOKING STATEMENTS” WITHIN THE MEANING OF THE PRIVATE SECURITIES
  LITIGATION REFORM ACT OF 1995. THESE STATEMENTS ARE SUBJECT TO A NUMBER OF
  ASSUMPTIONS, RISKS, AND UNCERTAINTIES, MANY OF WHICH ARE BEYOND THE
  CONTROL OF THE DEBTOR, INCLUDING, BUT NOT LIMITED TO, THE IMPLEMENTATION OF
  THE PLAN, IMPACTS OF THE GLOBAL COVID-19 PANDEMIC, ACHIEVING OPERATING
  FORECASTS, INDUSTRY-SPECIFIC RISK FACTORS, PARTICULARLY WITH RESPECT TO THE
  MOVIE EXHIBITION BUSINESS IN THE UNITED STATES, AND OTHER MARKET AND
  COMPETITIVE CONDITIONS. HOLDERS OF CLAIMS AND INTERESTS ARE CAUTIONED THAT
  THE FORWARD-LOOKING STATEMENTS SPEAK AS OF THE DATE MADE, ARE BASED ON
  THE DEBTOR’S CURRENT BELIEFS, INTENTIONS, AND EXPECTATIONS, AND ARE NOT
  GUARANTEES OF FUTURE PERFORMANCE. ACTUAL RESULTS OR DEVELOPMENTS MAY
  DIFFER MATERIALLY FROM THE EXPECTATIONS EXPRESSED OR IMPLIED IN THE
  FORWARD-LOOKING STATEMENTS, AND THE DEBTOR UNDERTAKES NO OBLIGATION TO
  UPDATE ANY SUCH STATEMENTS.
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   FINANCIAL PROJECTIONS

     B. Assumptions

            a. Methodology & Limitations
                Dependence on Assumptions - The Financial Projections depend on a number of
                estimates and assumptions. Although developed and considered reasonable by the Debtor,
                the management of the underlying entities, and the Debtor’s professionals, the assumptions
                are inherently subject to significant economic, business, regulatory, public health, and
                competitive uncertainties and contingencies beyond the control of the Debtor. Accordingly,
                actual results could vary materially and adversely from those contained herein.
                Assumed Effective Date – For the purposes of the Financial Projections, the Effective
                Date of the Debtor’s Plan of Reorganization is assumed to be March 31, 2021.
                Projection Period – The Debtor has projected five years of disposable income, from April
                1, 2021 through March 31, 2026. In the Financial Projections, the five-year Projection
                Period is shown by year with Year 1 being the twelve-month period of April 1, 2021
                through March 31, 2022.
                Disposable Income – Disposable income includes the Debtor’s income from wages,
                interest, dividends, and distributions less tax withholdings, retirement savings, healthcare
                premiums, the Debtor’s and his spouse’s reasonable living expenses, and payments
                necessary for the continuation, preservation or operation of the Debtor’s business. The
                Debtor projects to receive a return of capital from certain investments during the Projection
                Period. In the Financial Projections, the Debtor included the realized capital gains
                associated with these investments in the Disposable Income while the returned capital is
                assumed to be reinvested at the same yield, generating additional interest income to be
                included in the Debtor’s income in subsequent periods.
                The Debtor has included financial projections for certain underlying businesses that he
                controls and from which he anticipates receiving distributions during the Projection Period.
                The financial projections for these entities include projected income statement and levered
                cash flow projections.
                Division of Community Property – The Financial Projections contemplate the Debtor’s
                gross income is used to pay for reasonable living expenses of the Debtor and his spouse.
                Income derived from community property, including but not limited to dividends from
                publicly traded stocks and distributions from interests in limited liability companies, are
                included in their full gross amounts in the calculation of the Debtor’s Disposable Income.
                Proceeds from asset sales, net of any liquidation costs, are divided, pursuant to applicable
                Texas law, between the Debtor’s Bankruptcy Estate, and included in the Debtor’s estimate
                of disposable income, and the Debtor’s spouse.

     C. Notes on the Financial Projections
           1. Income: The Debtor projects income from various sources over the Projection Period,
               including:

                a. Wages: Historically, the Debtor has received a salary from Aramcor Inc. ranging
                   between $90,000 and $100,000 annually, and Aramcor has recovered that expense via
                   fee billings to its clients, including Flix Entertainment LLC (“Flix”). For a portion of
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   FINANCIAL PROJECTIONS

                  the Paycheck Protection Program forgiveness period in 2020, Debtor went on the
                  payroll of Flix because that entity was not able to fully utilize forgivable funds and was
                  also challenged paying management fees. In evaluating his personal services in the
                  context of the Plan, which contemplates an exceedingly challenging concurrent
                  rehabilitation of Flix, the Debtor reasonably projects 2021 wages of $140,000. Due to
                  the financial distress caused by the COVID-19 pandemic, the Debtor is not currently
                  receiving a salary from Flix nor is Aramcor collecting management fees. Due to the
                  government support enacted in December 2020, the Debtor anticipates Flix will be able
                  to resume paying the Debtor a salary for the Plan Year beginning April 2021. The
                  Debtor forecasts aggregate gross wages of $50,000 from Aramcor and $90,000 from
                  Flix in Year 1 with 2% annual raises in each subsequent year of the Projection Period.
                  It should be noted that CEO compensation is subject to advance approval by the Flix
                  Board of Managers which while probable, cannot be guaranteed.

                  The Financial Projections incorporate three reductions to the Debtor’s gross wages,
                  including 17.5% tax withholding, $24,000 annual retirement savings contributions
                  (same as 2020), and healthcare premiums, which the Debtor projects to increase 5%
                  per year during the Projection Period.

              b. Asset Sales: The Financial Projections include the sale of approximately $225,000 of
                 publicly traded stocks shortly after the Effective Date. As discussed above and in the
                 Plan, the proceeds of these asset sales, after 50% division of community property, are
                 included in the projected funds for Year One distribution to creditors.

              c. Dividends and Interest: The Debtor receives dividends and interest from his holdings
                 of cash, publicly traded stocks, mutual funds, and exchange-traded funds. Distributions
                 and interest in Year 1 are projected based upon the current dividend yield or interest
                 rate of the underlying holdings. No growth in dividends or interest over the Projection
                 Period is projected. Interest expense charged by Interactive Brokers on the Debtor’s
                 margin loan is deducted from gross dividend income.

              d. Distributions

                  -   Round Rock Business Park, LP: The Debtor receives pro-rata share of
                      distributions from his partnership interests in Round Rock Business Park, LP
                      (“RRBP”) and ARPROP, Inc (“ARPROP”), the general partner of RRBP and 1%
                      equity holder in RRBP. The Debtor’s community interest owns 78.63% of RRBP
                      and 100% of ARPROP.

                      RRBP is the owner of Park West Corporate Center (“PWCC”), a 118,000 square-
                      foot business park in Round Rock, Texas. Currently, PWCC’s leasable space is
                      approximately 95% occupied, which is at or above the local market average.
                      PWCC has performed steadily over recent years and has held up well during the
                      pandemic. However, a slight decrease in occupancy is forecasted in Year 1 and
                      Year 2 to reflect uncertainty of upcoming tenant renewals in light of the
                      challenging business environment stemming from the pandemic. The Financial
                      Projections incorporate the following assumptions into the financial performance
                      of RRBP during the Projection Period:
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   FINANCIAL PROJECTIONS

                     -   Occupancy is projected to decrease in Year 1 and Year 2 from 94% to 90%
                         but rebound to 93% in Year 3 through Year 5.

                     -   Tenant Improvement / Capital Expenditures of $125,000 per year are included
                         during the Plan Projections to remodel office space to suit new tenants.

                     -   RRBP is the largest shareholder of Southwestern Retail Properties III, LP
                         (“SRP3”). RRBP has been providing liquidity support to SRP3 during the
                         pandemic while the sole tenant of SRP3’s real estate property, San Antonio
                         Flix Brewhouse, is not operating. The Financial Projections contemplate
                         RRBP advances funds to Southwestern Retail Properties III, LP (“SRP3”) to
                         make its loan payments for six months during Year 1. No distributions or
                         upstreamed funds from SRP3 to RRBP are included in the Financial
                         Projections.

                 -   Southwestern Retail Properties, LP: The Debtor receives a pro-rata share of
                     distributions from partnership interests in Southwestern Retail Properties, LP
                     (“SRPLP”) and Southwestern Retail Properties, GP (“SRPGP”), the general
                     partner of and 1% equity holder in SRPLP. The Debtor’s community interest owns
                     46.24% of SRPLP and 100% of SRPGP.

                     SRPLP owns Sky Ridge Plaza (Lots 1 and 5, “SRP”), a 141,000 square-foot retail
                     center in Round Rock, Texas built in 1987. SRP is currently approximately 74%
                     occupied, which reflects the challenging operating environment facing many retail
                     and restaurant businesses during the pandemic.

                     The Financial Projections incorporate the following assumptions into the financial
                     performance of SRPLP during the Projection Period:

                     -   Occupancy is projected to decline in Year 1 to 70% and then rebound over the
                         subsequent years to 85% by Year 5.
                     -   SRPLP refinances the existing mortgage on SRP in 2022 at the same monthly
                         payments.
                     -   $150,000 of tenant improvements per year are included in the projections to
                         attract new tenants.
                     -   Construction and fit-out of CLIKworks, co-working and contemporary
                         executive suites in a currently vacant space, resumes in late February 2021,
                         and the first members move in during June 2021. Because of the cost of
                         CLIKworks as well as other re-tenanting efforts, distributions from SRPLP are
                         not projected to resume until Year Two of the Projection Period (April 1, 2022
                         to March 31, 2023).
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                        -    Flix Entertainment LLC, its subsidiaries, and related entities 1: The Debtor
                             projects that no distributions will be made from Flix Entertainment LLC and its
                             related and affiliated entities (“Flix”) during the Projection Period. The Debtor is
                             the founder and CEO of the Flix entities. As of the date of this Plan, two-thirds of
                             the movie theaters in the USA are not open for business due to the devastating
                             impact of the pandemic, and of those that are open, year-over-year revenue
                             decreases of 70-90% are typical. Flix is no exception and has suspended operations
                             for its 10 completed dine-in cinemas 2 since mid-March 2020, except for 6-12
                             weeks of unsuccessful operations from late August through early November 2020.

                             In addition to the immediate devastating decreases in attendance, the pandemic has
                             triggered a seismic shift in both consumer moviegoing habits and film distribution
                             practices, with significantly more product moving to in-home consumption and the
                             window of exclusivity for movies shown in theaters decreasing from a pre-
                             pandemic norm of 84 days to a new norm of zero to 17 days.

                             The Debtor is working with Flix’s advisors to restructure of the group’s
                             obligations, which is likely to include a mix of store closings, asset sales, lease
                             renegotiations and recapitalization of selected theater entities from government
                             grants. The Debtor anticipates that the selected theater entities will receive funds
                             through governmental support programs. Subject to lease renegotiations, the
                             federal aid will allow at least half of the Flix theaters to resume operations and
                             withstand substantial expected negative cash flow associated with reopening and
                             rebuilding a revenue base. Reopenings are currently projected by Flix as a series
                             of rolling re-starts from late May to mid-summer 2021.

                             However, because of the uncertainty involving Flix, Debtor’s status as an Insider,
                             and the likely subordination of claims held by the Debtor against Flix to that of
                             other allowed claims of creditors of Flix, no future return on investment from the
                             Debtor’s equity interests in or note receivable due from Flix are shown in the
                             Financial Projections.

                        -    Prairie Point Estates, Inc.: Prairie Point Estates, Inc (“PPEI”) is in the beginning
                             stages of developing approximately 242 acres of raw land into an equestrian-
                             themed midscale residential acreage subdivision in Bertram, Texas. PPEI’s equity
                             capitalization consists of $360,000 paid in by Debtor pre-petition, and $90,000
                             cash contributed by PPEI’s president. PPEI projects sales of improved lots will
                             begin in late 2021 to early 2022 and conclude in 2024.


  1
    Related entities include Woodward Center Inc., FB Capital LLC, Hospitality Investors, Inc., Southwestern Retail
  Properties II LP, and Southwestern Retail Properties III LP. The Debtor does not project to receive any distributions
  from these entities during the Projection Period.
  2
    An 11th theater was under construction when the pandemic was declared, and subsequently the landlord tendered
  possession to Flix to complete construction and fit-out. Although Debtor as Flix CEO desires to complete it and open
  for business, the ultimate disposition of this 75% completed project is unknown,
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   FINANCIAL PROJECTIONS

                              Ninety-six percent (233 acres) of this raw land had been owned by RRBP since
                              1996. PPEI acquired the balance in August 2019. Although just 4% of the land
                              area, the 2019 PPEI acquisition represents 97.5% of the street frontage. RRBP sold
                              its land to PPEI on November 30, 2020 for gross consideration of $1,465,000, of
                              which $1,175,000 represented seller financing in the former of a payment-in-kind
                              promissory note (the “PIK Note”) and the balance in cash. RRBP made an
                              immediate distribution of the sales proceeds to its partners, of which the PIK Note
                              was distributed to and in the name of the Debtor, and other RRBP partners received
                              cash. The PIK Note now held by the Debtor accrues unpaid interest at the annual
                              rate of 6% for the first two years and 8% thereafter.

                              PPEI is indebted to a related party, 100 Trinity LLC, for a total of $500,000 in
                              connection with the financing of land acquisitions. This indebtedness bears
                              interest payable quarterly at the Wall Street Journal Prime Rate plus 100 basis
                              points and is secured by a first lien on all the real estate and improvements. 100
                              Trinity and PPEI have entered into a term sheet calling for a total of up to $1.5
                              million in additional project financing to fund subdivision development costs.

                              In Plan Year 4, the PIK Note is projected to be repaid together with accrued
                              interest. This income, and the capital gains from the Debtor’s equity investment
                              have been included in the Debtor’s income in the Financial Projections. The
                              Financial Projections also contemplate reinvestment of the PPEI “capital stack”
                              (first mortgage loan, PIK Note principal and the original paid-in capital) at their
                              existing yields for the remaining duration of the Plan.

                          -   100 Trinity LLC: 100 Trinity LLC (“Trinity”) makes opportunistic loans and
                              investments in both public and private companies. Trinity generates income from
                              two sources: (i) dividends from publicly traded stocks, mutual funds, and exchange
                              traded funds and (ii) interest from cash holdings and loans to individuals and
                              businesses.

                              In the Financial Projections, the Debtor projects dividend income based upon the
                              dividend yield of the current holdings. No changes in dividend income are
                              projected.

                              Trinity has previously loaned $500,000 to PPEI pursuant to a first mortgage credit
                              agreement. Trinity has also committed to fund up to an additional high credit of
                              $1,325,000 3 to PPEI subject to certain entitlement milestones and performance
                              metrics. The Financial Projections assume that Trinity funds an additional
                              $750,000 loan in Year 1 through cash on hand and the liquidation of its holdings
                              of GLD, which does not produce any income. PPEI is projected to repay the loan
                              from Trinity, with interest, in 2023. The Financial Projections assumes Trinity
                              reinvests the repaid loan proceeds at the same yield.

                              Trinity also holds a note receivable in the amount of $100,000 due from a former
                              Senior Vice President of Flix. No receipts or income are included in the Financial

  3
      Maximum additional of $1,575,000 in extenuating circumstances then subject to Trinity’s discretionary approval
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                           Projections due to disputes surrounding unpaid severance and the limited value of
                           the collateral, the former employee’s then vested equity options.

                      -    3401 Hoteliers LP: 3401 Hoteliers LP (“Hoteliers”) is an entity that operated a
                           Wyndham Garden hotel in Austin, Texas, subject to a ground lease and a first
                           mortgage on the improvements, both of which are in default. Operations of the
                           hotel ceased in October 2020 and a court-appointed receiver now manages the
                           closed hotel and associated real estate. While the underlying asset is subject to a
                           letter of intent for purchase, subject to the ability to assume Hoteliers’ loan and
                           cure its defaults, the Debtor does not believe that any value remains for the equity
                           of this entity because Hoteliers has substantial secured and unsecured debts.
                           Accordingly, no income has been projected from the Debtor’s interest in this asset
                           in the Financial Projections.

                      -    Aramcor Inc: Aramcor Inc. (“Aramcor”) is a management services organization
                           with approximately 10 employees, including the Debtor, who provide various
                           accounting, property management and executive services to operating affiliates.
                           Aramcor has three main revenue streams: (a) property management fees, typically
                           as a percentage of revenues ranging for 2.7% to 4.5%; (b) leasing incentive fees in
                           excess of commissions paid; and (c) full cost recovery based on hourly billing
                           rates. In addition, Aramcor receives fees for entity management such as investor
                           relations, tax return preparation and coordination, corporate accounting services,
                           and entity compliance.

                           In 2019, the majority of Aramcor’s revenues were derived as a percentage of
                           revenues earned from Hoteliers and a flat monthly rate charged to Flix. By far,
                           Hoteliers was its most profitable account. As a result of the pandemic’s impact on
                           Hoteliers and Flix, Aramcor’s revenues have been severely impacted and it has
                           incurred starkly negative operating income. Aramcor obtained a fully-forgivable
                           PPP loan as well as a $150,000 Economic Injury Disaster Loan which is subject to
                           regular repayments during the Projection Period.

                           Given the uncertainty of the future outcome for Flix and the cessation of operations
                           at Hoteliers, the Financial Projections assume the Debtor’s continued employment,
                           but no excess cash flow.

                      -    Other Minority, Non-Controlling Investments 4: The Debtor holds various
                           investments in third-party controlled businesses and investment funds. These are
                           primarily early-stage non-public enterprises that do not pay dividends and are held
                           for long-term capital appreciation. One investment is a merger arbitrage hedge
                           fund. Because of the lack of regular income and uncertainty of final outcome,
                           Debtor does not forecast any income from these investments during the Projection
                           Period.




  4
   Includes investments in Nineteen77 Global Merger Arbitrage LLC, Select Access 2 Liquidation LLC, Newser
  LLC, First Stop Health, LLC, and Luft Hefe LLC.
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               e. Reimbursements: The Debtor maintains a family plan from AT&T for cellular phone
                  service for several family members. The Debtor pays the phone bill directly to AT&T
                  and is reimbursed by family members for their portion of the bills.

           2. Living Expenses:

               a. Car Payments: Two car loans are reaffirmed and payments continued in the ordinary
                  course.

               b. Inflation: The Financial Projections incorporate an assumed 2% annual increase in the
                  Debtor’s living expenses to reflect general inflation, except for property taxes, which
                  are forecasted to increase by 5% per annum and the car payments, which will remain
                  the same over the Projection Period per the financing agreements.

           3. Federal Income Taxes: NOLs are carried forward and applied to offset income during the
              Projection Period. The Debtor estimates no federal income taxes, in excess of the tax
              withholdings from his paychecks, will be due during Year 1 through Year 3 in the Financial
              Projections, as it is estimated Net Operating Losses generated in 2020 and earlier will be
              carried forward and applied to future income tax liabilities. The short sale or deed in lieu
              of foreclosure of the Wyndham Garden property is projected to trigger approximately $4
              million to $5 million of taxable income in 2021, partially offsetting the NOL carryforward.
              In Years 4 and 5, the Debtor has reserved 20% of the pass-through income from his
              interests in LLCs and LPs for payment of federal income taxes.

           4. Chapter 11 Administrative Expenses: Chapter 11 administrative expenses are to be paid
              on the Effective Date from cash on hand. As a result, no administrative expenses are
              included in the Financial Projections.
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FINANCIAL PROJECTIONS

                                                                     Year 1           Year 2           Year 3           Year 4           Year 5
INCOME
Gross wages                                                      $    140,000     $    142,800     $    145,656     $   148,569      $   151,541
  Tax withholdings                                                    (24,500)         (24,990)          (25,490)        (26,000)         (26,520)
  Retirement contributions                                            (24,000)         (24,000)          (24,000)        (24,000)         (24,000)
  Healthcare premiums                                                   (6,000)          (6,300)          (6,615)          (6,946)          (7,293)
Net wages                                                              85,500           87,510            89,551          91,624           93,728
Asset Sales                                                           114,076                -                -                -                -
Dividends and Interest                                                108,965          110,896          110,896         110,896          202,996
Distributions                                                         237,383          524,481          669,844       1,197,665          807,427
Reimbursements                                                           1,980            2,020            2,060            2,101            2,143
Total Income                                                     $    547,904     $    724,906     $    872,351     $ 1,402,286      $ 1,106,294
CHAPTER 11 ADMINISTRATIVE EXPENSES
Chapter 11 professionals
Subchapter V Trustee
Reserve for Federal Income Tax Liability                                      -                -                -       (290,552)        (212,454)
Total Chapter 11 Administrative Expenses                         $            -   $            -   $            -   $   (290,552)    $   (212,454)
LIVING EXPENSES
  Medical/Therapy/Prescriptions                                       (30,000)         (30,600)         (31,212)         (31,836)         (32,473)
  Food, meals, personal care items, household supplies                (24,000)         (24,480)         (24,970)         (25,469)         (25,978)
  Car Payments                                                        (24,144)         (24,144)         (24,144)         (24,144)         (24,144)
  Vehicle Fuel & Operating Expense                                     (6,000)          (6,120)          (6,242)          (6,367)          (6,495)
  Tolls                                                                (3,000)          (3,060)          (3,121)          (3,184)          (3,247)
  Property Taxes                                                      (17,052)         (17,905)         (18,800)         (19,740)         (20,727)
  Household & pool maintenance, repairs, parts, HOA                   (12,528)         (12,779)         (13,034)         (13,295)         (13,561)
  Lawn services, tree, fencing and irrigation sys. Maintenance        (12,000)         (12,240)         (12,485)         (12,734)         (12,989)
  Utilities                                                           (11,760)         (11,995)         (12,235)         (12,480)         (12,729)
  Cell Phones                                                          (7,200)          (7,344)          (7,491)          (7,641)          (7,794)
  Telephone, internet, cable, streaming services                       (7,200)          (7,344)          (7,491)          (7,641)          (7,794)
  Clothing, laundry, and dry cleaning                                  (2,820)          (2,876)          (2,934)          (2,993)          (3,052)
  Property Insurance                                                   (3,900)          (3,978)          (4,058)          (4,139)          (4,221)
  Life Insurance                                                       (1,800)          (1,836)          (1,873)          (1,910)          (1,948)
  Car Insurance                                                        (3,000)          (3,060)          (3,121)          (3,184)          (3,247)
  Entertainment, recreation, hobbies                                   (6,000)          (6,120)          (6,242)          (6,367)          (6,495)
  Pet Costs - Food and Vet Bills                                       (9,600)          (9,792)          (9,988)         (10,188)         (10,391)
  Gifts                                                                (1,200)          (1,224)          (1,248)          (1,273)          (1,299)
  Domestic help for spouse                                            (12,000)         (12,240)         (12,485)         (12,734)         (12,989)
Total Living Expenses                                            $   (195,204)    $   (199,137)    $   (203,174)    $   (207,318)    $   (211,574)
FUNDS AVAILABLE FOR DISTRIBUTION TO CREDITORS                    $    352,700     $    525,770     $    669,178     $    904,415     $    682,266
QUARTERLY PAYMENTS TO ALLOWED CLAIMS                             $     88,175     $    131,442     $    167,294     $    226,104     $    170,566
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FINANCIAL PROJECTIONS


ROUND ROCK BUSINESS PARK, LP                     Year 1           Year 2          Year 3           Year 4           Year 5
Rental Income                                $ 1,492,655      $ 1,507,582     $ 1,573,413      $ 1,604,881      $ 1,636,979
Other Operating Income                             3,000            3,000           3,000            3,000            3,000
Total Income                                 $ 1,495,655      $ 1,510,582     $ 1,576,413      $ 1,607,881      $ 1,639,979
Reimburseable Expenses
  Property Taxes                                 339,321          356,287         374,101          392,806          412,447
  Insurance                                       32,146           32,146          32,146           32,146           32,146
  Water                                           23,812           23,812          23,812           23,812           23,812
    Expense Reimbursement                       (355,751)        (371,021)       (399,955)        (417,351)        (435,617)
Net Reimburseable Expenses                        39,528           41,225          30,104           31,414           32,788
Electricity                                       17,514           17,514          17,514           17,514           17,514
Repairs & Maintenance                            135,180          135,180         135,180          135,180          135,180
SG&A                                              39,490           39,490          39,490           39,490           39,490
Management Fees                                   52,243           52,765          55,069           56,171           57,294
Total Operating Expenses                         283,954          286,174         277,357          279,768          282,266
Net Operating Income                         $ 1,211,701      $ 1,224,408     $ 1,299,056      $ 1,328,113      $ 1,357,712
Other Income                                       (5,000)          (5,000)        (5,000)           (5,000)          (5,000)
Depreciation & Amortization                      212,040          212,040         212,040          212,040          212,040
Bad Debt Expense                                  24,331           14,927          15,076           15,734           16,049
Interest Expense                                 489,772          477,420         464,509          451,012          436,903
Net Income                                   $   490,558      $   525,021     $   612,431      $   654,327      $   697,721
Plus:
  Depreciation & Amortization                     212,040          212,040         212,040          212,040          212,040
  Bad Debt Expense                                  24,331          14,927           15,076           15,734           16,049
  Capital Expenditures                             (25,000)        (25,000)         (25,000)         (25,000)         (25,000)
  Principal Paydown                              (272,584)        (284,936)       (297,848)        (311,345)        (325,454)
Operating Cash Flow                          $    429,344     $    442,052    $    516,699     $    545,756     $    575,356
  Tenant Improvements                            (100,000)        (100,000)       (100,000)        (100,000)        (100,000)
  SRP III                                        (276,000)              -                -                -                -
  Reserve for Income Taxes                              -               -                -                -                -
Free Cash Flow Available for Distributions   $      53,344    $    342,052    $    416,699     $    445,756     $    475,356
Allan L Reagan (78.63%)                           41,944          268,955         327,650          350,498          373,772
APROP (1.00%)                                        533            3,421           4,167            4,458            4,754
TOTAL DISTRIBUTONS TO REAGAN COMMUNITY       $    42,478      $   272,376     $   331,817      $   354,956      $   378,526
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SOUTHWESTERN RETAIL PROPERTIES, LP               Year 1           Year 2          Year 3           Year 4           Year 5
Rental Income                                $ 1,384,064      $ 1,535,887     $ 1,694,772      $ 1,747,734      $ 1,860,718
Other Operating Income                             3,000            3,000           3,000            3,000            3,000
Total Income                                 $ 1,387,064      $ 1,538,887     $ 1,697,772      $ 1,750,734      $ 1,863,718
Reimburseable Expenses
   Property Taxes                                 497,133         512,047         527,409          543,231          559,528
   Insurance                                       21,185          21,185          21,185           21,185           21,185
   Water                                           57,905          57,905          57,905           57,905           57,905
     Expense Reimbursement                       (403,356)       (443,352)       (485,198)        (513,414)        (542,825)
Net Reimburseable Expenses                        172,867         147,784         121,300          108,906           95,793
Electricity                                         8,995            8,995          8,995             8,995            8,995
Repairs & Maintenance                             142,264         142,264         142,264          142,264          142,264
Tenant Improvements                                    -                -              -                 -                -
CLIKworks Operating Expenses                           -                -              -                 -                -
SG&A                                               18,565          18,936          19,315           19,701           20,095
Management Fees                                    55,363          61,435          67,791           69,909           74,429
Total Operating Expenses                          398,053         379,415         359,665          349,776          341,576
Net Operating Income                         $    989,010     $ 1,159,472     $ 1,338,107      $ 1,400,958      $ 1,522,143
Other Income                                       (5,000)          (5,000)        (5,000)           (5,000)          (5,000)
Depreciation & Amortization                       212,040         212,040         212,040          212,040          212,040
Bad Debt Expense                                   48,223          27,681          30,718           33,895           34,955
Interest Expense                                  587,591         571,896         555,422          538,129          519,977
Net Income                                   $    146,157     $   352,854     $   544,928      $   621,893      $   760,171
Plus:
   Depreciation & Amortization                    212,040          212,040         212,040          212,040          212,040
   Capital Expenditures                            (75,000)       (100,000)       (100,000)        (100,000)        (100,000)
   Principal Paydown                             (315,799)        (331,493)       (347,968)        (365,261)        (383,413)
Operating Cash Flow                          $     (32,602)   $    133,401    $    309,000     $    368,673     $    488,798
   Tenant Improvements                             (50,000)        (50,000)         (50,000)         (50,000)         (50,000)
   Financing / Other Cash uses                          -                -               -                -                -
Free Cash Flow Available for Distributions   $     (82,602)   $     83,401    $    259,000     $    318,673     $    438,798
Allan L Reagan (46.24%)                                 -           38,565         119,762          147,354          202,900
Southwestern Retail Properties, GP (1.00%)              -              834            2,590            3,187            4,388
TOTAL DISTRIBUTONS TO REAGAN COMMUNITY       $          -     $     39,399    $    122,352     $    150,541     $    207,288
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100 TRINITY LLC                                Year 1        Year 2        Year 3        Year 4        Year 5
Interest                                   $     2,200   $        -    $        -    $        -    $         -
Dividends                                      159,214       159,214       159,214       159,214        159,214
Notes Receivable                                43,750        64,688        67,813        70,938         74,063
Total Income Available for Distributions   $   205,163   $   223,901   $   227,026   $   230,151   $    233,276
Allan L Reagan (95%)                           194,905       212,706       215,675       218,644        221,613
TOTAL DISTRIBUTONS TO REAGAN COMMUNITY     $   194,905   $   212,706   $   215,675   $   218,644   $    221,613
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                             EXHIBIT B
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  LIQUIDATION ANALYSIS


     A. Introduction
  NOTHING CONTAINED IN THE FOLLOWING LIQUIDATION ANALYSIS IS INTENDED TO
  BE OR CONSTITUTES A CONCESSION OR ADMISSION OF THE DEBTOR. THE
  ESTIMATED AMOUNT OF ALLOWED CLAIMS SET FORTH HEREIN SHOULD NOT BE
  RELIED UPON FOR ANY OTHER PURPOSE, INCLUDING ANY DETERMINATION OF THE
  VALUE OF ANY DISTRIBUTION TO BE MADE ON ACCOUNT OF ALLOWED CLAIMS
  UNDER THE PLAN. THE ACTUAL AMOUNT OF ALLOWED CLAIMS IN THESE CASES
  COULD DIFFER MATERIALLY FROM THE ESTIMATED AMOUNTS SET FORTH IN THE
  LIQUIDATION ANALYSIS.
     B. Assumptions

            a. Methodology & Limitations
                Dependence on Assumptions - The Liquidation Analysis depends on a number of
                estimates and assumptions. Although developed and considered reasonable by the Debtor
                and the Debtor’s professionals, the assumptions are inherently subject to significant
                economic, business, regulatory, public health, and competitive uncertainties and
                contingencies beyond the control of the Debtor. The Liquidation Analysis is also based on
                the Debtor’s best judgment of how numerous decisions in the liquidation process would be
                resolved. Accordingly, there can be no assurance that the values reflected in the Liquidation
                Analysis would be realized if the Debtor is, in fact, to undergo such a liquidation and actual
                results could vary materially and adversely from those contained herein.
                Conversion Date – Liquidation Analysis assumes a Conversion Date of March 31, 2021.
                Chapter 7 Liquidation Costs – The fees and operating expenses incurred during the
                chapter 7 process are included in the estimate of Chapter 7 Administrative Claims and
                chapter 7 trustee professional expenses. In addition, there are liquidation costs associated
                with most of the Debtor’s assets. Costs of liquidation are displayed as a reduction to gross
                liquidation proceeds.
                Division of Community Property – Liquidation Analysis assumes the net proceeds of
                community property is divided between the Debtor and his spouse prior to being made
                available for distribution to the Debtor’s creditors. For the avoidance of doubt, all of the
                Debtor’s assets are considered community assets and the amounts listed in the Assets
                section of the Liquidation Analysis represent the Debtor’s 50% interest in community
                assets.
     C. Notes on the Liquidation Analysis
           1. Cash on Hand: Estimated cash on hand as of the Conversion Date includes petty cash and
               cash in the Debtor’s bank accounts, less outstanding checks.

            2. Vehicles: The Debtor and his spouse own two cars and two trailers. Two of the cars, a
               2020 Ford F-250 and a 2020 Ford Explorer were both financed by the Debtor and his
               spouse and are pledged as collateral for associated loans. In this Liquidation Analysis, it is
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                    assumed that the financed vehicles are sold and proceeds utilized to pay off the associated
                    loans first. Given the amount of financing, it is unlikely that the Debtor has any equity in
                    these two cars.

               3. Marketable Securities: The Debtor has brokerage accounts at Interactive Brokers and
                  Ameriprise that hold various publicly traded equities, mutual funds, and exchange traded
                  funds as well as cash. The Liquidation Analysis assumes a low and high recovery,
                  representing the potential fluctuations in the public equity markets. In the low scenario, the
                  securities are sold at 95% of the closing price as of February 12, 2021. In the high scenario,
                  the securities are sold at 105% of the closing price as of February 12, 2021. Proceeds of
                  the sale of these securities are used to repay the Debtor’s margin loan from Interactive
                  Brokers. Remaining funds are then split pursuant to the interest in community property.
                  [Changes included in this amended plan represent fluctuations in market prices of the
                  securities.]

               4. Investments in and related to Flix Entertainment LLC 1: The Debtor holds both direct
                  and indirect (through feeder funds) interests in Flix Entertainment LLC a Texas limited
                  liability company and various related entities and affiliates (together “Flix”), and presently
                  serves as its Board Chair and CEO. Doing business as “Flix Brewhouse,” through various
                  affiliates and subsidiaries, Texas-based Flix operates ten dine-in cinemas that offer its own
                  craft beers. An eleventh location was indefinitely postponed construction in March. Flix
                  has been hard hit by the COVID-19 pandemic and has largely suspended operations during
                  much of 2020. Although Flix anticipates additional governmental grants through the Save
                  Our Screens program, there is continued uncertainty about future consumer demand for
                  theatrical movies after the pandemic subsides. Flix is in default of all of its debt and lease
                  obligations. Due to uncertainty of future financial performance and the current financial
                  distress of Flix and its various subsidiaries and affiliates, no value has been ascribed to the
                  Debtor’s equity interests in Flix in the Liquidation Analysis.

               5. Investments in Texas LLC and LP entities: The Debtor owns interests in several limited
                  liability companies (“LLCs”) and limited partnerships (“LPs”) in addition to his direct and
                  indirect investments in Flix Entertainment LLC. In a liquidation, the Trustee would, at
                  most, be entitled to the economic benefits that would flow to a member or partner.
                  Similarly, under Texas law, the exclusive remedy for a creditor of an individual who is a
                  member or partner of an LLC or LP is a charging order against the individual’s membership
                  or partnership interest, directing all distributions owed to the individual to be paid to the
                  individual’s creditors (i.e. the holder of the charging order).

                    In the Liquidation Analysis, it is assumed a Chapter 7 trustee is able to obtain a charging
                    order associated with the Debtor’s interests or otherwise obtain the benefit of the economic
                    interests (i.e. distributions or rights upon a sale, which for the purposes of this analysis are
                    not materially different than receipts under a charging order) in the following entities after
                    the Conversion Date. With a charging order in place, there are increased incentives for the
                    Debtor, as a manager of the underlying businesses, to reinvest profits into the businesses,

  1
   Related entities include Woodward Center Inc., FB Capital LLC, Hospitality Investors, Inc., Southwestern Retail
  Properties II LP, and Southwestern Retail Properties III LP. Debtor believes his equity interests in these entities have
  no liquidation value.
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               rather than make distributions to equity. In the Liquidation Analysis, discount rates of 50%
               and 60% are utilized in the low and high scenario, respectively, to reflect increased
               uncertainty and risk of that the timing of distributions to members or partners are
               significantly delayed into the future:

               a. 100 Trinity LLC: This entity makes opportunistic loans and investments in both
                  public and private securities. With a charging order in place, it is assumed that profits
                  are reinvested in securities yielding 3.0%.
               b. Round Rock Business Park LP (“RRBP”) and ARPROP Inc.: owner and general
                  partner of Park West Corporate Center, an office campus in Round Rock, Texas. The
                  Liquidation Analysis utilizes the projected cash flows included in the Financial
                  Projections and discount rates of 50% and 60% to reflect the uncertainty that
                  management would reinvest profits rather than distribute profits to equity.
               c. Southwestern Retail Properties LP and Southwestern Retail Properties GP:
                  owner and general partner of Sky Ridge Plaza (lots 1 and 5), a 141,000 square-foot
                  retail center in Round Rock, Texas. The Liquidation Analysis utilizes the projected
                  cash flows included in the Financial Projections and discount rates of 50% and 60% to
                  reflect the uncertainty that management would reinvest profits rather than distribute
                  profits to equity.

           6. Equity interest in 3401 Hoteliers LP: 3401 Hoteliers LP (“Hoteliers”) is an entity that
              operated a Wyndham Garden hotel in Austin, Texas, subject to a ground lease and a first
              mortgage on the improvements, both of which are in default. Operations of the hotel ceased
              in October 2020 and a court-appointed receiver now manages the closed hotel and
              associated real estate. While the underlying asset is subject to a letter of intent for purchase,
              subject to the ability to assume Hoteliers’ loan and cure its defaults, the Debtor does not
              project that any proceeds will be available for distribution to equity. Hoteliers has
              substantial unsecured debts, and penalty loan interest is accruing in the interim.
              Accordingly, no value has been attributed to this asset in the Liquidation Analysis.

           7. Equity interest in Aramcor Inc: Aramcor Inc. is a management services organization
              with approximately 10 employees, including Debtor, who provide various accounting,
              property management and executive services to operating affiliates. Other than receivables
              from affiliates, the dollar majority of which are from Flix and Hoteliers, both “out of
              business” either temporarily or permanently, Aramcor’s assets are limited to used office
              furniture and equipment with de minimus value. It also has lease liability for its office
              premises to Southwestern Retail Properties LP. Without its employees and Debtor’s
              continued leadership and executive management services, and without fee-generating
              affiliates, Aramcor has minimal value. A sale of its used office fixed assets would not
              likely exceed its lease liability in liquidation. Accordingly, limited value is attributed to the
              Debtor’s equity interest.

           8. Investments in Prairie Point Estates Inc.: The Debtor holds two investments in Prairie
              Pointe Estates Inc. (“PPEI”), including an equity investment of $360,000 and $1,175,000
              in the form of a subordinated PIK Note originally payable to RRBP and later distributed to
              Debtor. The only collateral for the PIK Note is a pledge of PPEI’s equity interests. PPEI is
              in the beginning stages of developing approximately 242 acres of raw land into an
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              equestrian-themed midscale residential acreage subdivision. The Liquidation Analysis
              assumes development operations are halted and the raw land is sold expeditiously at a price
              per acre of $5,500 - $6,000 (low and high scenario, respectively). The net proceeds, after
              paying commissions and other liquidation costs, are then used to repay the first mortgage
              and then the PIK Note. At the estimated gross proceeds, no value is attributed to the
              Debtor’s equity interest.

           9. Minority Investments in Third-party Entities:

              a. Nineteen77 Global Arbitrage Ltd: The Debtor holds an interest in this Cayman
                 Islands-based hedge fund specializing in merger arbitrage. The fund is managed by
                 UBS O’Connor and holds a reported approximately $126 million of assets under
                 management. The fund requires redemption requests be submitted at least 15 days prior
                 to month end, at which time the holdings are liquidated. Proceeds are distributed
                 approximately 30 days following the month end. Included in the Liquidation Analysis
                 is the Debtor’s holdings as of December 31, 2020.

              b. First Stop Health, LLC: an online and telephonic health concierge service for
                 individuals and families that combines 24/7 expert advice and diagnosis, unique
                 symptom and condition information, and resource locators to meet its members' minor
                 and major, urgent and chronic, healthcare needs. This company is still in development
                 mode but has seen increased demand for tele-health as a result of the COVID-19
                 pandemic. While demand of the company’s services are strong, there are many
                 competitors, including four large well-known companies. The Debtor’s community
                 property has a 1.0195% interest in this entity. Debtor has no control or influence over
                 this entity.

              c. Luft Hefe LLC: the holding company of a popular brew-pub restaurant in Austin,
                 Texas named "North By Northwest." Luft Hefe LLC ceased operations and liquidated
                 in 2020 due to the COVID-19 global pandemic. No value is attributed to the Debtor’s
                 interest in this entity in the Liquidation Analysis.

              d. Newser LLC: internet news site whose editors hand-pick the best stories from
                 hundreds of US and international sources and summarize them into sharply written,
                 easy-to-digest news briefs. Revenues have increased significantly, and the company
                 attained profitability on a GAAP basis in 2019. However, in recent quarters growth has
                 stalled. Debtor has no control or influence over this entity.

              e. Select Access 2 Liquidation LLC: This is a “hedge fund of funds” that has been
                 liquidating illiquid investments in its portfolio since the Great Recession. It has very
                 few assets remaining, and Debtor has no control or influence on this entity. The fund
                 operator sends annual statements of assumed value.

           10. Bonds and Notes Receivable

              a. Flix Entertainment Note Receivable: The Debtor holds a note receivable in the
                 original principal amount of $150,000, with a current balance of $49,174 plus accrued
                 interest. Because of the distressed financial condition of Flix and its uncertain future,
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                   the Debtor’s status as an Insider, and the Debtor’s subordination of claims against Flix
                   to that of holders of Flix indebtedness guaranteed by Debtor, an assumed liquidation
                   value of $0.04 - $0.08 cents on the dollar was estimated for the Estate’s portion of this
                   asset in the Liquidation Analysis.

               b. Series H United States Savings Bond: Series H savings bonds are redeemable at face
                  value.

           11. Federal Income Tax Refund: The Coronavirus Aid, Relief, and Economic Security
               (“CARES”) Act, P.L. 116-136, signed into law by President Donald Trump on March 27,
               2020, temporarily reinstated allowed carryback periods for Net Operating Losses
               (“NOLs”) generated in tax years 2018, 2019, and 2020. Analysis to calculate or estimate
               the actual value of the Debtor’s tax attributes is dependent on Debtor’s ability to engage
               the CPA firm that prepared his federal tax returns for the past five years. Said CPA firm is
               currently preparing an engagement letter for this assignment and is also a pre-petition
               creditor. Based on an oral discussion with the applicable CPA firm partner, Debtor has
               been advised that the CARES Act carryback when and if prepared, filed and approved by
               the IRS could result in a refund of as much as an estimated $700,000, limited by the amount
               of federal taxes paid. The Debtor’s Estate would have a 50% interest in any such potential
               refund as the refund would be community property. For the purposes of the Liquidation
               Analysis, the Debtor has included a range of $200,000 to $350,000 for the Estate’s interest
               in the refund, which incorporates the estimated cost of a CPA to restate several years of
               tax returns and the uncertainty in the final allowed NOL carryback amount.

           12. Administrative Expenses

                      a. Chapter 11 Professionals: The Debtor has included an estimate of $50,000 to
                         $100,000 for professional fees incurred prior to the Conversion Date.

                      b. Subchapter V Trustee: The Debtor estimates approximately $10,000 to
                         $20,000 of fees for the Subchapter V Trustee prior to the Conversion Date.

                      c. Chapter 7 Trustee and Professionals: Chapter 7 Trustee fees are calculated
                         based upon 3% of available funds to distribute to creditors and administrative
                         expenses. Additionally, the Debtor has included an estimate of $50,000 to
                         $150,000 for professionals that would likely need to be retained to assist the
                         Chapter 7 Trustee evaluate and liquidate the Debtor’s assets, including the need
                         to pursue a charging order related to the Debtor’s interests in various LLCs and
                         LPs.

           13. Claims

                        As of this date, a total of 17 proofs of claim totaling $33,774,144.79 in unsecured
                        claims have been filed, most of which consists of purported guaranty liability for
                        post-petition lease acceleration claims. As the Proof of Claim deadline has not
                        passed, it is not possible to state the amount of claims that will be filed.
                        Additionally, the Debtor expects that a number of the claims will be subject to
                        objection and/or estimation.
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   Allan L. Reagan, Debtor
   Case #20-11161-tmd
   Liquidation Analysis
   Assumed Conversion on March 31, 2021

                                                         Notes       Estimated Liquidation Value
   Assets (excluding exempt property):                                Low                  High
     Cash                                                 1      $       155,000     $       165,000
     Vehicles                                             2                  500               2,000
     Marketable Securities                                3            1,104,000           1,257,000
     Investments in/related to Flix Entertainment, LLC    4                   -                   -
     Investments in Texas LLC and LP Entities
           100 Trinity LLC                                5a             57,000               92,000
           Round Rock Business Park LP / ARPROP           5b            230,000              286,000
           Southwestern Retail Properties LP / GP         5c             76,000              101,000
     Investments in 3401 Hoteliers LP                     6                  -                    -
     Investments in Aramcor Inc.                          7                  -                 1,500
     Investments in Prairie Pointe Estates, Inc.
           PIK Note                                       8             381,000              438,000
           Equity                                         8                  -                    -
     Minority Investments in 3rd Party Entities:
           1977 Global Merger Arbitrage LLC               9a            192,000              214,000
           First Stop Health, LLC                         9b                 -                25,000
           Luft Hefe LLC                                  9c                 -                    -
           Newser LLC                                     9d                 -                10,000
           Select Access 2 Liquidation LLC                9e                 -                 2,500
     Bonds / Notes Receivable
           Flix Entertainment Note Receivable            10a               1,000               2,000
           Series H Savings Bond                         10b               3,000               3,000
     Tax Refund                                           11             200,000             350,000
     Life Insurance Policy                                                11,250              11,250
     Inherited IRA                                                         4,820               4,820
   Total Assets                                                  $     2,415,570     $     2,965,070

   Administrative Expenses:
    Chapter 11 Professionals                                             50,000               75,000
    Subchapter V Trustee                                                 10,000               20,000
    Chapter 7 Trustee                                                    72,467               88,952
    Chapter 7 Professionals                                              50,000              150,000
    Other Administrative Expenses                                        10,000               25,000
   Total Administrative Expenses                                 $      192,467      $       358,952

   Available for Distribution to Creditors                       $     2,223,103     $     2,606,118
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FINANCIAL PROJECTIONS

 PRAIRIE POINTE ESTATES, INC.                                      Year 1         Year 2          Year 3          Year 4          Year 5
 Gross Revenue                                                 $    270,000    $ 1,804,400     $ 1,867,554    $    817,773    $            -
 Commissions                                                        (10,800)       (72,176)        (74,702)        (32,711)                -
 Net Revenue                                                   $    259,200    $ 1,732,224     $ 1,792,852    $    785,062    $            -
 Planning, design and approvals                                    288,450              -               -              -                   -
 Hard construction cost (including amenities)                      685,000         425,000         325,000             -                   -
 Management and overhead                                           139,200         104,400          34,800         17,400                  -
 Contingency                                                       100,000          60,000          20,000         13,050                  -
 Cash Interest                                                      43,750          62,500          12,500             -                   -
 Total Project Costs                                           $ 1,256,400     $   651,900     $   392,300    $    30,450     $            -
 Net Project Cash Flow                                         $ (997,200)     $ 1,080,324     $ 1,400,552    $   754,612     $            -
 Financing Payments
 First Mortgage (100 Trinity)                                      750,000       (1,000,000)      (250,000)             -                  -
 PIK Note - Principal (Allan Reagan)                                    -                -              -       (1,175,000)                -
 PIK Note - Interest (Allan Reagan)**                                   -                -              -         (257,978)                -
 Equity - Invested Capital (Allan Reagan)                               -                -              -         (360,000)                -
 Equity - Capital Gains (Allan Reagan)**                                -                -              -         (215,546)                -
 Equity - Invested Capital (Duane Davis)                                -                -              -          (90,000)                -
 Equity - Capital Gains (Duane Davis)                                   -                -              -         (118,956)                -
 Ending Cash Balance                                           $   231,992     $    312,316    $ 1,462,868    $         -     $            -


** Included in Funds Available for Distribution to Creditors
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                             EXHIBIT C
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                                                                Proof of Claim                                                         Scheduled

Creditor                                           #    Class          Amount                   Amount        Class User Class C/U/D* Collateral    Nature of Consideration

Ford Motor Credit Corp.                            17                            $60,782.63      $60,782.63    SE   Secured         Ford Explorer   Automobile loan
Wells Fargo Auto                                                                                 $64,679.34    SE   Secured         Ford F-250      Automobile Loan
Interactive Brokers                                                                           $1,007,526.69    SE   Secured         Investments     Margin Loan
Williamson County Tax Office                       15                         $17,906.94                       PR   Priority                        Real Property Tax
83rd Street Development LLC                        20                      $2,536,460.22                       GU   Unsecured   C/U                 Guarantee
Ann E. Headley                                      6                        $219,495.97       $210,062.64     GU   Unsecured                       Guarantee
Bank of Austin                                      9                      $1,795,087.90                       GU   Unsecured    C                  Guarantee
Bennett Living Trust                                                                            $91,460.92     GU   Unsecured                       Guarantee
Capital One Spark Visa for Business                8                              $8,956.91      $8,838.59     GU   Unsecured                       Credit Card
Chase Ink Card for Business                        3                              $8,699.17      $8,343.35     GU   Unsecured                       Credit Card
Chase VISA Mileage Plus                            2                              $9,021.09      $9,034.22     GU   Unsecured                       Credit Card
Citicard Aadvantage Mastercard                                                                     $169.28     GU   Unsecured                       Credit Card
Comerica Bank                                                                                  $217,442.28     GU   Unsecured    C                  Guarantee
Comerica Bank                                                                                    $3,543.70     GU   Unsecured                       Credit Card
Comerica Bank                                      14                      $5,041,966.78             $0.00     GU   Unsecured    C                  Guarantee
Discover Card                                       1                            $230.76           $400.00     GU   Unsecured                       Credit Card
DT Chandler LLC                                    13                     $15,253,566.52                       GU   Unsecured   C/U                 Guarantee
Frances and Wayne Lee                                                                            $9,142.40     GU   Unsecured                       Guarantee
Gary J. Neumayer                                   4                             $36,569.57     $36,569.57     GU   Unsecured                       Guarantee
Headley Investments LP                             7                             $27,357.57     $27,438.28     GU   Unsecured                       Guarantee
Kathleen R. McCormick                                                                           $17,948.39     GU   Unsecured                       Guarantee
Lone Star National Bank                            19                      $9,918,969.31                       GU   Unsecured    C                  Guarantee
Madison/East Towne LLC                             12                        $426,750.00       $426,750.00     GU   Unsecured C/U/D                 Guarantee
Martin S. Headley                                   5                        $291,407.05       $292,179.14     GU   Unsecured                       Guarantee
Mikeska Monahan & Peckham, P.C.                                                                  $9,535.00     GU   Unsecured                       Services
ROP Artcraft LLC                                   11                      $3,750,801.80             $0.00     GU   Unsecured   C/U                 Guarantee
RPT Realty, L.P.                                                                                $15,518.66     GU   Unsecured   C/U                 Guarantee
Spain Family IX LLC                                                                             $91,460.93     GU   Unsecured                       Guarantee
UBS Real Estate Securities Inc.                    18                     $13,617,453.28                       GU   Unsecured   C/U                 Guarantee
Village @ La Orilla                                10                      $6,617,549.79       $392,970.75     GU   Unsecured C/U/D                 Guarantee
Wyndham Franchisor LLC                             16                        $207,994.34       $199,437.44     GU   Unsecured                       Franchise agreement

TOTAL                                              20                     $59,847,027.60      $3,201,234.20

SCHEDULED AS UNKNOWN/$0 AND DID NOT FILE PROOF OF CLAIM
Action Propane                                                                                                 GU   Unsecured                       Services
ADT                                                                                                            GU   Unsecured                       Services
Al Clawson Disposal                                                                                            GU   Unsecured                       Services
AT&T                                                                                                           GU   Unsecured                       Services
AT&T(DirecTV)                                                                                                  GU   Unsecured                       Services
Comerica Bank                                                                                                  GU   Unsecured     C                 Guarantee
Comerica Bank                                                                                        $0.00     GU   Unsecured     C                 Guarantee
Flix Brewhouse Texas IV, LLC                                                                                   GU   Unsecured    C/U                Guarantee
GCRE/TX Main Marketplace LLC                                                                                   GU   Unsecured    C/U                Guarantee
Lone Star National Bank                                                                                        GU   Unsecured     C                 Guarantee
Merle Hay Investors LLC                   21                              $10,393,027.43             $0.00     GU   Unsecured    C/U                Guarantee -- LATE FILED CLAIM
Pedernales Electric Company                                                                                    GU   Unsecured                       Utilities
Poolwerx by Blue Bottom Pool Supply                                                                            GU   Unsecured                       Services
Prudential Mortgage Capital Company LLC                                                                        GU   Unsecured    C/U                Guarantee
Securian/Minnesota Life Insurance Co.                                                                          GU   Unsecured    C/U                Guarantee
Southwestern Retail Properties II L.P.                                                                         GU   Unsecured    C/U                Guarantee
Spectrum                                                                                                       GU   Unsecured                       Services

* C = Contingent, U = Unliquidated, D = Disputed
